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 5                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 6
                                           AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                        Case No. MJ08-261
 9                  Plaintiff,                        DETENTION ORDER
10          v.
11   PO MEAN,
12                  Defendant

13

14   Offense charged:
15
            Conspiracy to Import and Distribute MDMA/Ecstacy
16
     Date of Detention Hearing: June 5, 2008
17
            The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
18
     and based upon the factual findings and statement of reasons for detention hereafter set forth,
19

20
     finds that no condition or combination of conditions which the defendant can meet will

21   reasonably assure the appearance of the defendant as required and the safety of any other person

22   and the community.
23

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     DETENTION ORDER- 1
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            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 1

 2
              (1) Defendant is a citizen of Cambodia and is in the United States illegally.

 3            (2) An immigration detainer has been lodged.

 4            (3) The defendant does not contest detention at this time.
 5         It is therefore ORDERED:
 6
              (1) Defendant shall be detained pending trial and committed to the custody of the
 7
                 Attorney General for confinement in a correctional facility separate, to the extent
 8
                 practicable, from persons awaiting or serving sentences, or being held in custody
 9
                 pending appeal;
10

11            (2) Defendant shall be afforded reasonable opportunity for private consultation with

12               counsel;

13            (3) On order of a court of the United States or on request of an attorney for the
14               Government, the person in charge of the correctional facility in which Defendant
15
                 is confined shall deliver the defendant to a United States Marshal for the purpose
16
                 of an appearance in connection with a court proceeding; and
17
              (4) The clerk shall direct copies of this order to counsel for the United States, to
18
                 counsel for the defendant, to the United States Marshall, and to the United States
19

20               Pretrial Services Officer.

21            DATED this 5th day of June, 2008.

22

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24
                                                 __/s/Brian A. Tsuchida__________
                                                 BRIAN A. TSUCHIDA
25                                               United States Magistrate Judge

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     DETENTION ORDER- 2
